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MINUTE ENTRY
SHUSHAN, J.
NOVEMBER 7, 2012
JS-10: 11 min.

                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


FRANK NAJOLIA, JR.                                    CIVIL ACTION

VERSUS                                                NUMBER: 12-821

NORTHRUP GRUMMAN SHIP                                 SECTION: "J"
SYSTEMS, INC., ET AL

COURTROOM DEPUTY:                                     COURT REPORTER:
Stephanie Kall                                        Cindy Usner



                WEDNESDAY, NOVEMBER 7, 2012 AT 9:30 AM
              MAGISTRATE JUDGE SALLY SHUSHAN PRESIDING


                                CALL DOCKET

Case called.
After discussions between the parties, it is Ordered that defendants Bayer
CropScience, Uniroyal, Inc., Northrop Grumman Ship Systems, Inc., McDermott
International Inc., and Warren Pumps, Inc. are DISMISSED WITHOUT PREJUDICE.
Further Ordered that third-party defendant Uniroyal, Inc. is DISMISSED WITHOUT
PREJUDICE. Further Ordered that the call docket is satisfied as to third-party
defendant Claims Resolution Management Corporation. Matter is to be placed
on trial docket.

ATTORNEYS: Lawrence Centola, III, for plaintiff
          Gordon Wilson, for Huntington Ingalls Incorporated
          Rick Mitchell for Stacey Strain, for Air & Liquid Systems
           Corporation
          Jennifer Zajac, for Reilly-Benton Company, Inc.
          Adam deMahy, for OneBeacon America Insurance Company
          Michael Abraham, for Bayer CropScience, Inc.
          Sarah Roy, for IMO Industries Inc. and Warren Pumps, LLC
